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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA

        - against -

 ERIC ADAMS,
                                               No. 24-CR-556 (DEH)
        Defendant.




          DEFENDANT ERIC ADAMS’S NOTICE OF MOTION TO DISMISS
                     COUNT V OF THE INDICTMENT

       PLEASE TAKE NOTICE, that upon the accompanying Memorandum of Law, the

undersigned will move this Court on a date and time to be designated by the Court, before the

Honorable Dale E. Ho, at the Thurgood Marshall United States Courthouse, 40 Foley Square New

York, NY 10007, for an order dismissing Count V of the Indictment.

 Date: September 30, 2024                         Respectfully submitted,

                                                  QUINN EMANUEL URQUHART
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                                                  By: /s/ Alex Spiro

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